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         ORDERED in the Southern District of Florida on January 20, 2023.



                                                            Peter D. Russin, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________


                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                         Fort Lauderdale Division
                                          www.flsb.uscourts.gov

         In re:                                                     Chapter 7

         GENEREX BIOTECHNOLOGY CORP,                                Case No. 22-13166-PDR

                        Debtor.
                                                     /

          ORDER GRANTING MOTION TO AUTHORIZE TRUSTEE TO APPROVE OFFER OF
         SETTLEMENT WITH THE SECURITIES AND EXCHANGE COMMISSION (ECF NO. 82)

                  THIS MATTER came before the Court for hearing on January 19, 2023 at 2:30 p.m. on

         the Motion to Authorize Trustee to Approve Offer of Settlement with the Securities and Exchange

         Commission (the “Motion”) (ECF No. 82) filed by Chapter 7 Trustee Marc Barmat (“Trustee”).

         The Court, having reviewed the Motion and the record in this case, having found due and proper

         notice of the Motion has been made and no objections have been asserted to the relief sought by

         the Motion, and having found that cause exists to grant the relief requested in the Motion, does

         hereby

                  ORDER AND ADJUDGE as follows:
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       1.        The Motion is GRANTED.

       2.        The Offer of Settlement annexed to the Motion as Exhibit A (“Offer of

Settlement”) is APPROVED.

       3.        The Trustee is authorized to execute the Offer of Settlement, and take any actions

necessary to effectuate the Offer of Settlement.

       4.        The relief granted in this Order does not apply to any entity owned or controlled

by the Debtor.

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Copies to:


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Counsel for the Trustee

Attorney Klopp shall immediately serve this Order upon all interested parties and file a
certificate of service with the Court that conforms with Local Rule 2002-1(F).




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